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                             UNITED STATES COURT OF INTERNATIONAL TRADE
                                         ONE FEDERAL PLAZA
                                       NEW YORK, NY 10278-0001


CHAMBERS OF
Claire R. Kelly
    Judge



                                                             March 19, 2018

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      Re:    Claude N. Lewis v. American Sugar Refining, Inc. and Mehandra Ramphal,
             Case No. 14-cv-02302

Dear Counsel:

      On Monday, March 19, 2018, the court heard oral argument related to the parties’

pending motions in limine and subsequently held a pretrial conference with counsel in this

action. During the pretrial conference, the court discussed with counsel their objections

to the trial exhibits, see Proposed Joint Pretrial Order at 23–36, Nov. 7, 2017, ECF No.

94, made requests related to those objections, and informed the parties that a letter

memorializing those requests would follow.       Accordingly, following are the court’s

outstanding requests:

   1. Regarding Defendants’ objections to certain of Plaintiff’s exhibits on grounds that
      those exhibits cannot be authenticated because they were not received by ASR:
      the court requests Defendants’ counsel to provide Plaintiff’s counsel with a list of
      the exhibits to which this objection pertains by Wednesday, March 21, 2018.
      Plaintiff will then inform the court by Thursday, March 22, 2018 how it intends to
      authenticate those documents. If a hearing needs scheduled for that purpose, the
      court will schedule it after receiving Plaintiff’s counsel’s response;

   2. Regarding Defendants’ objection to PX-6 on grounds that Dr. Parson may not be
      qualified to testify to particular emotional harms: the parties shall confer and
      propose at least two dates before Monday, April 16, 2018 on which they are
      available for a voir dire and Daubert hearing regarding Dr. Parson’s qualifications
      and the permissible scope of her testimony;

   3. Regarding PX-11: the parties shall provide the court and opposing counsel with
      the second page of this exhibit;

   4. Regarding the issue of punitive damages: Defendants may brief its position on this
      issue, in a memorandum of no more than 5 pages, by Thursday, March 22, 2018,
      and Plaintiff may file a response paper of the same length by Monday, March 26,
      2018;

   5. Regarding the issue of references at trial to the recent Mayo-Coleman v. American
      Sugars Holdings, Inc., Civil Action No. 14-cv-0079, case: Plaintiff may brief its
      position on this issue, in a memorandum of no more than 5 pages, by Thursday,
      March 22, 2018, and Defendants may file a response paper of the same length by
      Monday, March 26, 2018;
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   6. The parties are requested to provide a list of all exhibits that have been withdrawn
      and to provide updated exhibits reflecting all social security number redactions;

   7. Plaintiff’s counsel may file a proposed verdict sheet on or before Monday, March
      26, 2018; and

   8. The parties shall inform the court whether they believe that a jury instruction on the
      EEOC proceedings is necessary and, if so, shall provide a proposed instruction.

       If you have any questions, please contact my case manager, Mr. Steve Taronji, at
(212) 264-1611.


                                                 Sincerely,

                                                  /s/ Claire R. Kelly
                                                 Claire R. Kelly, Judge
